
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of *563Criminal Procedure 3.850. On appeal from a summary denial, this court must reverse unless the postconviction record shows conclusively that the appellant is entitled to no relief. See Fla. R.App. P. 9.141(b)(2)(A); Fla. R.App. P. 9.141(b)(2)(D).
Because the record now before us fails to make the required showing, we reverse the order and remand for a hearing or for the attachment of record excerpts conclusively showing that the appellant is not entitled to any relief. See Fla. R.App. P. 9.141(b)(2)(D); Fla. R.Crim. P. 3.850(d).
Reversed and remanded for further proceedings.
